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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )              CASE NO. 8:13CR159
                                                  )
               Plaintiff,                         )
                                                  )
               vs.                                )              TENTATIVE FINDINGS
                                                  )
CARL HELLER,                                      )
                                                  )
               Defendant.                         )

       The Court has received the Modified Presentence Investigation Report (PSR) regarding
the defendant, Carl Heller (Heller). Neither the government nor Heller has filed any objections
to the PSR. The Court advises the parties that these Tentative Findings are issued with the
understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the sentencing
guidelines are advisory.
       IT IS ORDERED:
       1.      The Court’s tentative findings are that the Modified Presentence Investigation
Report is correct in all respects.
       2.      If any party wishes to challenge these tentative findings, the party shall
immediately file in the court file and serve upon opposing counsel and the Court a motion
challenging these tentative findings that adheres to the requirements of ¶ 8 of the Order on
Sentencing Schedule (Filing No. 90), supported by (a) such evidentiary materials as are required
(giving due regard to the requirements of the local rules of practice respecting the submission of
evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary hearing is requested, a
statement describing why an evidentiary hearing is necessary and an estimated length of time
for the hearing;
       3.      Unless otherwise ordered, any motion challenging these tentative findings shall be
resolved at sentencing.
       4.      If the parties require more than a half hour for sentencing, counsel must contact
Mary Beth McFarland by e-mail, Mary_Beth_McFarland@ned.uscourts.gov.
       DATED this 27th day of February, 2014.


                                              BY THE COURT:
                                              s/ Thomas D. Thalken
                                              United States Magistrate Judge
